Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 1 of 16




                            Exhibit 85
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 2 of 16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 3 of 16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 4 of 16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 5 of 16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 6 of 16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 7 of 16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 8 of 16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 9 of 16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 10 of
                                      16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 11 of
                                      16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 12 of
                                      16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 13 of
                                      16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 14 of
                                      16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 15 of
                                      16
Case 0:17-cv-60426-UU Document 212-87 Entered on FLSD Docket 09/21/2018 Page 16 of
                                      16
